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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 22-cr-299-CKK
                v.                            :
                                              :
SHAWNDALE CHILCOAT, and                       :
DONALD CHILCOAT,                              :
                                              :
                       Defendants.            :


           GOVERNMENT’S STATUS REPORT REGARDING THE
  IMPACT OF UNITED STATES V. FISCHER, 144 S.Ct. 2176 (2024), ON COUNT ONE

       The United States, through undersigned counsel, files this status report describing its view

of the impact of United States v. Fischer, 144 S.Ct. 2176 (2024), on Count One of the Superseding

Indictment, which charges the defendants with a violation of 18 U.S.C. §§ 1512(c)(2) and 2. As

discussed below, Fischer does not bar this prosecution. To be sure, Fischer will require an updated

jury instruction regarding the elements of a violation of § 1512(c)(2), and below, the government

proposes such language. But the government expects that its evidence of the defendants’ conduct,

and the inferences to be drawn from that conduct, will be sufficient to submit this case to the jury

and to sustain a conviction. At this time, the government intends to proceed to trial on Count One

of the Superseding Indictment.

       I.       Procedural History

       On April 3, 2024, a grand jury returned a superseding indictment charging the defendants

with a violation of 18 U.S.C. §§ 1512(c)(2) and 2 (Count One), among other offenses. On April 4,

2024, Donald Chilcoat filed a motion to dismiss Count One, ECF 114; that same day, Shawndale

Chilcoat moved to join Donald Chilcoat’s Motion. ECF 119. On April 11, 2024, the government
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filed a response to the motion to dismiss Count One. ECF 124.1 The Court has not yet ruled on this

motion, which—in any event—was filed before the Supreme Court decided Fischer. By a minute

order on August 7, 2024, the Court ordered the parties to file a status report describing the effect,

if any, of Fischer on Count One. By a minute order on August 14, 2024, the Court extended the

deadline for submission of such a report.

       II.     Legal Analysis

               a. The Government’s Proposed Jury Instruction, in light of Fischer, as to the
                  Elements of a Violation of Section 1512(c)(2)

       In Fischer, the Supreme Court held that “to prove a violation of Section 1512(c)(2), the

Government must establish that the defendant impaired the availability or integrity for use in an

official proceeding of records, documents, objects, or . . . other things used in the proceeding, or

attempted to do so.” Fischer, 144 S. Ct. at 2190. Given this decision, the jury must be instructed

accordingly on the elements of the offense. The government proposes the following instruction as

to the elements:

       First, the defendant committed or attempted to commit an act that impaired the

       integrity of or rendered unavailable records, documents, or other things to be used

       in an official proceeding;

       Second, the defendant intended to impair the integrity of or render unavailable such

       records, documents, objects, or other things to be used in an official proceeding;

       and

       Third, the defendant acted corruptly.2



1
 This procedural history does not address the defendants’ various pro se motions.
2
 This instruction differs from prior jury instructions which did not focus on impairing the integrity
of, or rendering unavailable, records, documents, or other things to be used in an official
proceeding. The prior instruction articulated the elements as follows:
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This articulation of the elements tracks the Supreme Court’s holding in Fischer. If the jury is

presented with sufficient evidence, is instructed in this way, and finds the defendants guilty,

Fischer will allow their convictions to stand.

               b. The Superseding Indictment Sufficiently Alleges an Offense

       Rule 12 permits a party to raise in a pretrial motion “any defense, objection, or request that

the court can determine without a trial on the merits.” Fed. R. Crim. P. 12(b)(1) (emphasis added).

Indeed, “[i]f contested facts surrounding the commission of the offense would be of any assistance

in determining the validity of the motion, Rule 12 doesn’t authorize its disposition before trial.”

United States v. Pope, 613 F.3d 1255, 1259 (10th Cir. 2010) (Gorsuch, J.). A criminal defendant

may move for dismissal based only on a defect in the indictment, such as a failure to state an

offense. Fed. R. Crim. P. 12(b)(3)(B). Thus, when ruling on a motion to dismiss for failure to state

an offense, a district court is limited to reviewing the face of the indictment and more specifically,

the language used to charge the crimes. See United States v. Bingert, 605 F. Supp. 3d 111, 117

(D.D.C. 2022) (a motion to dismiss challenges the adequacy of an indictment on its face and the

relevant inquiry is whether its allegations permit a jury to find that the crimes charged were

committed); McHugh, 2022 WL 1302880 at *2 (a motion to dismiss involves the Court’s

determination of the legal sufficiency of the indictment, not the sufficiency of the evidence);




       First, the defendant attempted to or did obstruct or impede an official proceeding.
       Second, the defendant acted with the intent to obstruct or impede an official
       proceeding.
       Third, the defendant acted knowingly, with awareness that the natural and probable
       effect of his conduct would be to obstruct or impeded the official proceeding.
       Fourth, the defendant acted corruptly.

E.g. United States v. Groseclose, 21-cr-311-CRC, ECF No. 79. The balance of the prior
§ 1512(c)(2) instruction is not affected by Fischer and need not change.
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United States v. Puma, No. 21-CR-454 (PLF), 2022 WL 823079 at *4 (D.D.C. Mar. 19, 2022) (“In

ruling on a motion to dismiss for failure to state an offense, a district court is limited to reviewing

the face of the indictment and, more specifically, the language used to charge the crimes”)

(emphasis in original, quotation marks and citation omitted).

       A charging document may also fail to state an offense if the statutory provision at issue

does not apply to the charged conduct or if the statutory provision at issue is unconstitutional. See,

e.g., United States v. Eshetu, 863 F.3d 946, 952 (D.C. Cir. 2017) (“The defense of failure of an

indictment to charge an offense includes the claim that the statute apparently creating the offense

is unconstitutional.” (citation omitted)), vacated on other grounds, 898 F.3d 36 (D.C. Cir. 2018).

In considering a motion to dismiss, a court must accept the allegations in the indictment as true.

See United States v. Ballestas, 795 F.3d 138, 149 (D.C. Cir. 2015).

       Here, the Superseding Indictment sufficiently alleges a violation of 18 U.S.C. § 1512(c)(2),

and the Supreme Court’s decision in Fischer is no bar to a trial on the merits. The text of Count

One mirrors the statutory language defining the offense. Compare 18 U.S.C. § 1512(c)(2) with

ECF 109 at 1-2. Beyond this, an assessment of the defendants’ conduct, and of the government’s

proof, will require a trial on the merits. Accordingly, there is no basis to dismiss Count One for

failure to state an offense, even after Fischer, and the Court should allow trial to proceed on this

count, along with the others.

               c. The Government’s Proof Will Establish a Violation of Section 1512 Under
                  the Standard Established in United States v. Fischer

       Although the Court should not dismiss Count One of the Superseding Indictment before

trial, the government understands that the Court wants to have confidence that the facts here give

rise to a triable case. Accordingly, the government presents this synopsis of the evidence it will
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present to meet its burden of proof in light of Fischer. This synopsis does not purport to be a full

proffer of the evidence that the government will present at trial.

       The defendants traveled together from Celina, Ohio to Washington, D.C., to attend the

former President’s rally on January 6, 2021. After the rally, the defendants traveled to the Capitol

grounds, where they illegally entered the restricted area around the Capitol building. During their

time on the Capitol grounds, both demonstrated their intent to invade the Capitol building. As he

climbed scaffolding to ascend to the Upper West Terrace, Donald Chilcoat recorded a video which

captured the size of the crowd behind him, and narrated, “Getting ready to go into the Capitol

building here . . . We’re going into the Capitol building now.” After they reached the Upper West

Terrace, but before they entered the building, Shawndale Chilcoat recorded a video in which she

stated “I’m so freaking excited, look, I’m right at the top of the Congress. We’re going to show

them how they need to vote today.”

       Thereafter, at approximately 2:46 p.m., the defendants watched rioters attempt to break

open windows, then entered the Capitol building itself through a broken-open door on the

building’s northwest side. A cell phone video shows that, after they learned of the breach, Donald

Chilcoat cautioned Shawndale Chilcoat that they should let other rioters enter first. That way, if

the police deployed pepper spray, those other rioters, and not the Chilcoats, would bear the brunt

of it. In other words, the defendants knew they were not welcome, and they knew their entry might

be met with force. After the defendants entered the building, they traveled to the Senate Chamber

– the very place where the proceeding was taking place – and joined other rioters in occupying it.

There, they took photographs and remained in the chamber while other rioters searched desks

belonging to the former Vice President and to Senators.
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        Through their conduct, the defendants demonstrated an intent to invade and occupy the

Capitol building and to stop the certification of the electoral college vote. And, critically, they were

aware that this proceeding involved records, documents, or other things—specifically, the electoral

votes that Congress was to consider. On January 4, 2021, via Facebook, a friend of Shawndale

Chilcoat told her to “give Rob Portman a call and let him know what you think of him not rejecting

the fraudulent votes.” Shawndale Chilcoat affirmed “just did.” Then, late on January 5 or early on

January 6, Shawndale Chilcoat posted a message to Facebook saying that “[Vice President] Pence

is stating he can not reject the votes.” On January 7, 2021, after the riot, Shawndale Chilcoat

admitted “we were just trying to stop them from certifying the votes and didn’t know they were

already gone.” On the same day, she also bragged, “[o]k so antifa is being blamed for breaking

windows and storming congress. Um no, it was us I was with them and couldn’t be more proud.”

From this evidence, the jury certainly will be able to infer that Shawndale Chilcoat attempted to

impair the availability of the electoral college votes which Congress was to consider. The jury can

also infer, based on the defendants’ joint conduct and their relationship, that Donald Chilcoat did,

too. Coupled with their conduct – entering the Senate chamber and aiding and abetting the

occupation of the chamber by rioters obviously interfering with documents and records related to

the proceeding itself – a jury considering this evidence will be able to find, beyond a reasonable

doubt, that the defendants acted to obstruct the certification of the electoral vote: that they intended

to, and attempted to, impair the integrity or availability of the votes under consideration by the

Joint Session of Congress on January 6, 2021. Accordingly, the government intends to proceed to

trial on Count One.
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                            Respectfully submitted,

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